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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION (CINCINNATI)

 TIFFANY FINKTON,                             )          CASE NO. 1:21-cv-00047
                                              )
                          Plaintiff,          )          JUDGE MATTHEW W. MCFARLAND
                                              )
                     v.                       )          STIPULATED NOTICE OF
                                              )          DISMISSAL
 CELLCO PARTNERSHIP, et al.,                  )
                                              )
                          Defendants.         )

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the Parties stipulate to the

dismissal of all claims in this action, with prejudice. Each party to bear their own costs.

 Respectfully submitted,

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